Case 1:21-cv-22445-KMM Document 18 Entered on FLSD Docket 07/20/2021 Page 1 of 2


                                                                     FILED By PG                D.c.
                           UNITED STATES DISTRIW CO URT
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  TRUM P etaI.                               +       CivilAction No.1;21-cv-22445-zM M
          Plaintiffs                                 Hon.K.M ichaelM oore
                                             #
  V.                                                 M OTIO N TO DISM ISS PLAINTIFF'S
                                             *
  TO UTUBE,LLC et aI.                                CO M PLAINT
       Defendants
                                             *       Ted Kurt,AmicusCuriae (prose)
                                                     tedkurt@ tedkurt.com



         Plaintiffherein has sued Tw itter
         Because they blocked him ,he becam e bitter.
         And YouTube and Facebook
         Plaintiffdidn't overlook.

         Forfailure to state grounds
         Upon w hich reliefcan found
         Plaintiff's Com plaintshould be tossed in the Shitter.


   Respectfully subm itted,

       ?-/
  Ted Kurt,AmicusCuriae(prose)

                                    PRO O F O F SERVICE
   Icertify a copy ofthe w ithin M OTIO N TO DISM ISS PLA INTIFF'S CO M PLAINT w as
   sent by regular U.S.M ailthis 16th day ofJuly,2021,to Plaintiff's counselof
   record,VargasGonzalez Baldw in Delom bard,LLP,815 Ponce de Leon Blvd.,Third
   Floor,CoralG ables,FL33134

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        Case 1:21-cv-22445-KMM Document 18 Entered on FLSD Docket 07/20/2021 Page 2 of 2




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